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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                        LAFAYETTE DIVISION

 APACHE CORP.                                         CIVIL ACTION NO. 16-111

 VERSUS                                               JUDGE ROBERT G. JAMES

 BELLE ISLE LLC.                                      MAG. JUDGE CAROL B. WHITEHURST

                                            JUDGMENT

        For the reasons discussed in this Court’s Ruling and for the additional reasons stated in

 the Report and Recommendation of the Magistrate Judge [Doc. No. 46], adopted by this Court

 after a de novo review of the record,

        IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s Motion to Dismiss

 for Lack of Subject Matter Jurisdiction or, in the Alternative, Motion to Stay [Doc. No. 5] and

 Defendant’s Motion to Dismiss Amended Complaint [Doc. No. 23] are GRANTED. Plaintiff’s

 Complaint for a Declaratory Judgment [Doc. No. 1] is DISMISSED WITHOUT PREJUDICE for

 lack of subject matter jurisdiction.

        MONROE, LOUISIANA, this 19th day of August, 2016.
